B2100A (Form 2100A) (12/15)   Case 19-10879-AJC           Doc 48        Filed 10/25/19         Page 1 of 1
                                         UNITED STATES BANKRUPTCY COURT
                                            Southern District of Florida (Miami)
IN RE:                                                                Case No.: 19-10879
Debtors: Rosalina Delgado                                             Loan Number (Last 4):        6128


                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY


A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives evidence and
notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this evidence
and notice.
Select Portfolio Servicing, Inc.                                  Nationstar Mortgage LLC d/b/a Mr. Cooper
                                                                  Bankruptcy Department
Name of Transferee                                                Name of Transferor

3217 S. Decker Lake Dr.                                           Court Claim # (if known): 16
Salt Lake City, UT 84115                                          Amount of Claim:          $149,484.48
                                                                  Date Claim Filed:         03/28/2019

Phone: 866-247-1722                                               Last Four Digits of Acct #: 8235
Last Four Digits of Acct #: 6128

Name and Address where transferee payments should be sent (if different from above):
PO Box 65450
Salt Lake City, UT 84165


Phone:    866-247-1722
Last Four Digits of Acct #:     6128



I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
belief.


By:      /s/ Michelle Enoch                                                               Date:   10/25/2019
         Bankruptcy Supervisor
          (Approved by: Dilan Foutz)


Specific Contact Information:
P: 800-258-8602




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.


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